Case 2:25-cv-01963-MEF-MAH    Document 98-12    Filed 03/21/25   Page 1 of 6 PageID:
                                     332



 Jeanne LoCicero
 American Civil Liberties Union
 of New Jersey Foundation
 570 Broad Street, 11th Floor
 P.O. Box 32159
 Newark, New Jersey 07102
 Tel: (973) 854-1718
 jlocicero@aclu-nj.org

 Counsel for Petitioner

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,                       Case No. 2:25-cv-01963
                                        (MEF)(MAH)
        Petitioner,
                                        CERTIFICATION OF ESHA
  v.                                    BHANDARI IN SUPPORT OF
                                        APPLICATION FOR ADMISSION
  WILLIAM JOYCE ET AL.,                 PRO HAC VICE PURSUANT TO
                                        LOCAL CIVIL RULE 101.1
        Respondent.




       I, Esha Bhandari, hereby certify the following:

       1.    I am an attorney at the American Civil Liberties Union Foundation

 (“ACLU”). I have been requested to represent Petitioner in this matter.
Case 2:25-cv-01963-MEF-MAH      Document 98-12    Filed 03/21/25   Page 2 of 6 PageID:
                                       333



         2.    I am a member in good standing of the New York State bar as of

 2011.

    3. I am also admitted to practice before the following courts:



          Court                                 Year of             Attorneys
                                                Admission           Rolls
                                                                    Maintained
                                                                    By:
          New York State Appellate              2011                Supreme
          Division, Second Department                               Court, State
                                                                    of New York
                                                                    Appellate
                                                                    Division,
                                                                    Second
                                                                    Department
                                                                    45 Monroe
                                                                    Place
                                                                    Brooklyn, NY
                                                                    11201
          U.S. Supreme Court                    2016                1 First Street,
                                                                    NE
                                                                    Washington,
                                                                    DC 20543
          U.S. Court of Appeals for the First   2020                John Joseph
          Circuit                                                   Moakley U.S.
                                                                    Courthouse
                                                                    1 Courthouse
                                                                    Way, Suite
                                                                    2500
                                                                    Boston, MA
                                                                    02210
          U.S. Court of Appeals for the         2012                Thurgood
          Second Circuit                                            Marshall
                                                                    United States
                                                                    Courthouse
Case 2:25-cv-01963-MEF-MAH   Document 98-12    Filed 03/21/25   Page 3 of 6 PageID:
                                    334



                                                                 40 Foley
                                                                 Square
                                                                 New York,
                                                                 New York
                                                                 10007
        U.S. Court of Appeals for the       2012                 United States
        Third Circuit                                            Court of
                                                                 Appeals for
                                                                 the Third
                                                                 Circuit
                                                                 21400 U.S.
                                                                 Courthouse
                                                                 601 Market
                                                                 Street
                                                                 Philadelphia,
                                                                 PA 19106-
                                                                 1790
        U.S. Court of Appeals for the       2017                 Lewis F.
        Fourth Circuit                                           Powell Jr.
                                                                 Courthouse &
                                                                 Annex
                                                                 1100 East
                                                                 Main Street,
                                                                 Suite 501
                                                                 Richmond,
                                                                 VA 23219
        U.S. Court of Appeals for the Fifth 2012 (inactive)      United States
        Circuit                                                  Court of
                                                                 Appeals
                                                                 Fifth Circuit
                                                                 Office Of the
                                                                 Clerk
                                                                 F. Edward
                                                                 Hebert
                                                                 Building
                                                                 600 S.
                                                                 Maestri Place
                                                                 New Orleans,
                                                                 LA 70130-
                                                                 340
Case 2:25-cv-01963-MEF-MAH   Document 98-12   Filed 03/21/25   Page 4 of 6 PageID:
                                    335



        U.S. Court of Appeals for the     2018                  Everett
        Seventh Circuit                                         McKinley
                                                                Dirksen
                                                                United States
                                                                Courthouse
                                                                219 S.
                                                                Dearborn
                                                                Street
                                                                Room 2722
                                                                Chicago, IL
                                                                60604
        U.S. Court of Appeals for the     2012                  Thomas F.
        Eighth Circuit                                          Eagleton
                                                                Courthouse
                                                                111 South
                                                                10th Street
                                                                Room 24.329
                                                                St. Louis,
                                                                MO. 63102
        U.S. Court of Appeals for the     2011                  The James R.
        Ninth Circuit                                           Browning
                                                                Courthouse
                                                                95 7th Street
                                                                San
                                                                Francisco,
                                                                CA 94103
        U.S. Court of Appeals for the     2012                  Elbert P.
        Eleventh Circuit                                        Tuttle
                                                                Courthouse
                                                                56 Forsyth
                                                                Street, N.W.
                                                                Atlanta, GA
                                                                30303
        U.S. Court of Appeals for the     2012                  Jarrett B.
        Federal Circuit                                         Perlow
                                                                717 Madison
                                                                Place, NW
                                                                Washington,
                                                                DC 20439
Case 2:25-cv-01963-MEF-MAH      Document 98-12      Filed 03/21/25    Page 5 of 6 PageID:
                                       336



        U.S. District Court for the Eastern     2015                   United States
        District of New York                                           District Court
                                                                       for the New
                                                                       York Eastern
                                                                       District
                                                                       225 Cadman
                                                                       Plaza East
                                                                       Brooklyn, NY
                                                                       11201
        U.S. District Court for the             2012                   500 Pearl
        Southern District of New York                                  Street, New
                                                                       York, NY
                                                                       10007
        U.S. District Court for the Western 2014
        District of Texas


       4.      No professional disciplinary proceedings are pending against me in

 any jurisdiction and no professional discipline has previously been imposed on

 me in any jurisdiction.

       5.      In the event I am admitted pro hac vice, I agree to:

            a. Make payment to the New Jersey Lawyer’s Fund for Client

               Protection as provided by New Jersey Court Rule 1:28-2(a) for each

               year in which I represent Petitioner in this matter;

            b. Abide by the Rules of this Court, including any relevant disciplinary

               rules;

            c. Notify this Court immediately of any matters affecting my standing

               at the Bar of any other Court; and
Case 2:25-cv-01963-MEF-MAH     Document 98-12     Filed 03/21/25   Page 6 of 6 PageID:
                                      337



            d. Have all pleadings, briefs, and other papers filed with the Court

              signed by an attorney of record authorized to practice in the United

              States District Court for the District of New Jersey.

       6.     In view of the foregoing, I respectfully request that I be admitted

 pro hac vice.



 Pursuant to 28 U.S.C. § 1746, I affirm under penalty of perjury that the above

 statements are true and correct.

  Dated: March 21, 2025                          Respectfully Submitted,
                                                 /s/Esha Bhandari
                                                 Esha Bhandari
                                                 American Civil Liberties
                                                 Union Foundation
                                                 125 Broad St., 18th Fl.,
                                                 New York, NY 10004
                                                 Tel: (212) 549-2500
                                                 ebhandari@aclu.org
